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                            Exhibit A
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 FROM RANK AND FILE MEMBERS OF ALAA UAW 2325


   Digest of Select Statements and Positions on Matters of Public Concern by the
                    Association of Legal Aid Attorneys UAW 2325
                       UAW 2325 Labor for Palestine, November 26, 2023

 •March 1978: Civil Rights Movement and Vietnam War
 [ALAA President] Mike Russek, “Affiliation Now!", ALAA News, Vol. 1, No. 1, March 1978, p. 1.,
 col. 1: “District 65 has a national reputation as a progressive union. It has been in the forefront
 of the Civil Rights Movement and was the first significant opponent of the Vietnam War within
 the American labor movement.”

 •Summer 1979: Apartheid South Africa
 “South Africa Protest,” ALAA News, Vol. 2, No. 3, Summer 1979, p. 6, col. 2: "In protest against
 Bankers Trust Company's support for the racist government of South Africa, the Association by
 unanimous vote of the Executive Committee has closed its accounts there."

 •January.-February 1985: Apartheid South Africa and Namibia
 “Apartheid Protests,” ALAA Organizer, Jan.-Feb. 1985, Vol. 4, No. 1, p. 1, col. 2: “Over the past
 month, the Association of Legal Aid Attorneys (ALAA) has begun to play a leading role within
 the legal community in the on-going efforts protesting apartheid in South Africa and Namibia.”

 •April 3, 1985: Civil Rights, Apartheid South Africa, Central America
 ALAA Letter to Membership: “This April we have a historic opportunity to strengthen the
 movement for social justice and peace in this country and to thwart the deadly policies of the
 Reagan Administration. Our challenge is to turn the tide of domestic cutbacks, high
 unemployment, attacks on civil rights, support for apartheid, and the threat of a Vietnam-style
 war in Central America.”

 •June 14, 1986: Apartheid South Africa
 “Anti-Apartheid Demonstration Planned for June 14,” ALAA Organizer, Vol. 5, No. 3, p. 3, col. 1,
 April-May 1986: “The Association of Legal Aid Attorneys (ALAA), through its Political Action
 Committee has begun to play an active role in organizing for a massive demonstration against
 apartheid in New York City on June 14th.”

 •June-July 1986: Apartheid South Africa
 “ALAA Anti-Apartheid Work,” ALAA Organizer, Vol. 5, No. 4, June-July 1986, p. 8, col. 3: “For
 the second year in a row, ALAA coordinated the publication of a statement by the Legal
 Committee Against Apartheid in the New York Law Journal. The statement called for the release
 of Nelson Mandela and 11 other political prisoners in South Africa and was directed to both
 President Reagan and P.W. Botha, President of South Africa.”

 •July 11, 1986: Apartheid South Africa
 Letter from Legal Committee Against Apartheid [signed by ALAA President Jean Schneider on
 behalf of ALAA], p. 1: “We ask that you join with us in taking immediate action to support
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 legislation now pending before Congress which would impose comprehensive sanctions against
 South Africa.”

 •June 1, 1989: Palestine
 ”ALAA Presents a Discussion on the Middle East Organizing by Hani Baydoun”: “A Palestinian
 trade unionist who organized hotel workers through the Progressive Labor Front—a coalition of
 twenty trade unions in the West Bank and Gaza strip.”

 •June 1, 1989: Palestine
 ”ALAA/1199 Lecture Series: The West Bank Turmoil: Eyewitness Views”

 •May 1, 1990: Palestine
 “American Trade Unionists Appeal for Release of Palestinian Trade Unionist Hani Baydoun”
 [signed by ALAA President Michael Letwin]: “We believe that we are fortunate to have had the
 opportunity to meet with Hani Baydoun when he toured the U.S. and Canada last summer, and
 to hear him speak of the work of Palestinian trade unionists, we do not want to be deprived of
 hearing from him in the future. We urge the immediate release of Palestinian trade unionist Hani
 Baydoun.”

 •Jan. 21, 1992: Central America
 ALAA Executive Council Endorsements, ALAA Weekly Organizer #57, p. 14, col. 2: “National
 Network for Immigrant & Refugee Rights: Campaign for Temporary Protected Status in the U.S.
 of Guatemalan trade unionists, who have been central targets of that government's military and
 death squads. Central American Labor Defense Network: Protest against repression of Central
 American trade unionists.”

 •April 1994: Post-Apartheid South Africa
 Yvonne Floyd-Mayers, “ALAA Members Aid in S. Africa Elections,” Working for Justice, #1, July
 1994, p. 5, col. 1: “In April, three ALAA members served as international observers in the [sic]
 South Africa's historic first non-racial democratic elections.”

 •March 12, 1999: NYPD Killing of Amadou Diallo
 [ALAA President] Michael Letwin, “Labor Joins Protest Over New York Police Killing,” Labor
 Notes, May 1999: “The largest single labor contingent to be arrested came from the Association
 of Legal Aid Attorneys/UAW Local 2325, whose members provide legal representation to
 300,000 indigent New Yorkers who are frequently victims of police abuse.”

 •December 23, 1999: Free Speech, Civil and Labor Rights
 ”In Defense of Free Speech, Labor and Civil Rights in New York City” [Statement initiated by
 ALAA]: “On April 3, 1968, the day before his assassination, Martin Luther King, Jr. made his
 famous ‘mountaintop’ speech, in which he called for resistance to an ‘illegal, unconstitutional
 injunction’ against African-American municipal sanitation workers in Memphis. The Giuliani/MTA
 1999 order against NYC transit workers—who are also overwhelmingly people of color—is
 strikingly similar to that Memphis injunction of more than 30 years ago. We, therefore, seek to
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 honor Dr. King’s final battle by condemning these unconscionable orders and by demanding that
 such egregious violations of free speech, labor, and civil rights never again be permitted to
 occur.”

 •March 22, 2000: NYPD Killing of People of Color
 "Statement on Police Violence and Abuse” (ALAA Delegate Council Resolution) “In response to
 the police murder of Amadou Diallo, Patrick Dorismond and other people of color, ALAA calls for
 immediate abolition of the Street Crime Unit and Operation Condor; dismissal of police
 commissioner Howard Safir; federal prosecution, oversight and reform of the NYPD; creation of
 an independent state agency to prosecute police abuse; and an end to the ‘War on Drugs,’
 including the Draconian Rockefeller sentencing laws, which only serves to promote violent
 crime, police brutality, and mass criminalization, particularly against communities of color.”

 •April 2000: NYPD Killing of Amadou Diallo
 [ALAA President} Michael Letwin, “Legal Aid Union Defends Protesters Arrested After Cops Are
 Acquitted” (Labor Notes, April 2000): “ALAA has argued that Diallo’s death reflects the criminal
 justice system’s organized hostility to young people of color, as reflected in routine police abuse,
 unfair trials, Draconian drug laws, and the death penalty. It has also argued that labor has a
 common interest in uniting with movements opposed to Mayor Rudolph Giuliani’s attack on legal
 and constitutional rights, as witnessed curing the transit workers’ contract negotiations last
 December.”

 •January. 5, 2001: Palestine
 “WBAI Protest Saturday” (Email from ALAA President Michael Letwin to ALAA members):
 “ALAA has endorsed a rally at 12 Noon tomorrow (Saturday) to oppose a management purge
 now in progress designed to undermine WBAI radio's long-time commitment to activist public
 broadcasting. . . . For example, after receiving a complaint from the Corporation for Public
 Broadcasting, Pacifica upbraided van Isler for allowing coverage of the Palestinian
 Right-To-Return march in Washington D.C. on September 23rd, and demanded that Program
 Director Bernard White remove that program.”

 •February 21, 2002: Civil Liberties, Islamophobia, and Democratic Rights
 “In Defense of Civil Liberties” (ALAA Delegate Council Resolution): “As a labor union whose
 members fight each day for the statutory and constitutional rights of indigent New Yorkers, The
 Association of Legal Aid Attorneys, UAW Local 2325, is deeply opposed to the Bush
 administration’s broad assault on precious civil liberties and democratic rights,” [including the
 systematic attack on] “men of Muslim and Middle Eastern origin.”

 •September 7, 2002: Civil Liberties, Islamophobia, and Democratic Rights
 “NYC Labor Solidarity With Immigrant Workers and Detainees”: “ALAA, the UAW and 1199 are
 among the many labor, civil liberties, community, religious and political organizations to endorse
 this event, the second day of NYC labor solidarity with post-9/11 immigrants who continue to be
 detained without charges, some of them secretly and without attorneys.”
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 •January 27, 2003: Iraq War
 UAW Region 9A Metro Area CAP Council Antiwar Resolution: “On January 16, ALAA’s parent
 union, the 30,000-member UAW Region 9A NY Metro Area CAP Council, overwhelmingly
 adopted the resolution below endorsing U.S. Labor Against the War (USLAW).”

 •July 29, 2014: Free Speech for Palestine
 ALAA Joint Council Authorizes Grievance of Legal Aid Society Management Ban
 “non-work-related matter involving the current situation in the Middle East.”

 •August 12, 2014: NYPD Killing of Eric Garner
 “ALAA Members Demand NYPD Accountability for Death of Eric Garner”: (ALAA Executive
 Board Resolution): “We, the undersigned members of the Association of Legal Aid
 Attorneys/UAW Local 2325, demand justice for Eric Garner.”

 •October 20, 2020: Police Unions
 ”Resolution Calling On the International UAW and AFL-CIO To Cut Ties With Policing Unions”
 (ALAA Joint Council Resolution): “[We] call on the AFL-CIO and all other labor bodies to
 immediately sever ties with International Brotherhood of Police Officers and the International
 Union of Police Association; other unions of police, sheriffs, jail and prison guards, Border
 Patrol, Immigration and Customs Enforcement (ICE), security guards, and “child protective”
 specialists; and all other wings of the prison-industrial complex.”

 •May 11, 2021: Philippines
 “ALAA Endorses the Philippine Human Rights Act” (Delegate Council Resolution): “ALAA will
 show solidarity with unionists and progressive lawyers in the Philippines.”

 •July 22, 2022: Palestine
 “Resolution on Divestment from Israel Bonds and on Transparency in Investments funded
 through Union Membership Dues” (ALAA Membership Vote): “ALAA 2325 supports taking
 action, both as individual members and as a chapter collectively, in support of Palestinian
 liberation from Israeli apartheid.”
